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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


GIOVANNY CABALLERO,

        Petitioner,

v.                                                       CASE NO: 8:07-cv-2075-T-30EAJ
                                                          Crim. Case No: 8:05-cr-530-T-30EAJ
UNITED STATES OF AMERICA,

      Respondent.
____________________________________/


                                             ORDER

        THIS CAUSE comes before the Court upon Petitioner’s pro se Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. §2255 (CV Dkt. 1) filed on November 5,

2007.       After reviewing the Petitioner's motion, Respondent's answer, and the prior

proceedings in the underlying criminal case,1 the Court concludes that this motion should be

denied without an evidentiary hearing because it plainly appears from the face of the record

that Petitioner is entitled to no relief.

                                            Background

        Petitioner, Giovanny Caballero (hereinafter referred to as “Caballero” or “Petitioner”)

was charged by grand jury indictment, filed on December 15, 2005, with conspiracy to

possess 1000 or more marijuana plants with the intent to distribute (CR Dkt. 10). He pled

guilty on August 11, 2006 (CR Dkt. 296). In his plea agreement, Petitioner waived his right



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to appeal or collaterally attack his sentence except on the grounds that his sentence exceeds

the guideline range as determined by the court, exceeds the maximum penalty under statute,

or violates the Eighth Amendment (CR Dkt. 212 at 12-13). Petitioner also retained the right

to appeal if the government initiated an appeal to his sentence. Id.

       At his sentencing hearing, Petitioner affirmed that he read the presentence report

("PSR") and had no objections to its factual accuracy (CR Dkt. 669 at 4). Petitioner's counsel

contended both in his sentencing memorandum and at the hearing that the PSR over-

represented Petitioner's criminal past. Id. When the Court inquired whether counsel was

arguing that Petitioner's criminal history was miscalculated or asking for a downward

departure, counsel clarified that it was the latter. Id. Petitioner's counsel further commented

that "[Caballero] was on probation, and that does meet the requirement for the increase from

a II to a III. . . ." Id. at 8-9. After verifying that there were no objections to either the factual

statements or the application of the guidelines within the PSR, the court adopted them as its

findings of fact. Id. at 5. The Court determined that a three-level downward departure was

appropriate in light of Petitioner's substantial assistance and applied a guideline range of

thirty-seven to forty-six months in prison. Id. at 15. The Court sentenced Petitioner to thirty-

seven months in prison and five years of supervised release. Id. at 16. Petitioner filed a

declaration of his intent not to appeal with the court on November 16, 2006 (CR Dkt. 438).

       Petitioner filed the instant motion on November 5, 2007, alleging that he was not, as

indicated in the PSR, convicted of a prior felony in Broward County or on probation for a

state crime at the time of the charged offense. Petitioner further claimed that his sentence


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was in error because of these alleged inaccuracies in the PSR. Following a Court order that

he indicate how his motion should be construed, Petitioner filed a motion to construe the

motion as a 28 U.S.C. § 2255 motion, and this Court granted the motion (CV Dkt. 13, 14).

       The Respondent filed an answer on March 13, 2008 (Dkt. 15). In response to an order

to reply within twenty days, Petitioner claimed he had not received a copy of Respondent's

answer (Dkt. 17). The Clerk mailed Petitioner a copy of the answer on March 22, 2008.

Petitioner did not file a reply to Respondent's answer.

                                         Discussion

I.     Petitioner's claim is procedurally barred.

       A claim is generally procedurally defaulted if it is not raised on direct appeal unless

the Petitioner can show cause for the failure to raise it and actual prejudice. Lynn v. United

States, 365 F.3d 1225, 1234 (11th Cir. 2004); McCoy v. United States, 266 F.3d 1245, 1258

(11th Cir. 2001) (citing United States v. Frady, 456 U.S. 152, 167-68 (1982)). Here,

Petitioner not only failed to file an appeal, but waived his right to appeal unless sentence

exceeded the guidelines or the statutory maximum. Petitioner's sentence was below the

guideline range and less than the statutory maximum. This waiver of the right to appeal

directly or collaterally applies to a collateral attack through a § 2255 motion. See Williams

v. United States, 396 F.3d 1340 (11th Cir. 2005).

       Further, since Petitioner admitted the facts of his prior record at sentencing, he will

not now be heard to argue to the contrary. Petitioner has not shown any cause for his failure

to object to the alleged inaccuracies of the PSR at trial or on appeal. The information


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regarding his criminal history that Petitioner disputes was available to him at the time of his

sentencing.

         Thus, Petitioner's claim is procedurally barred from habeas review and the sentence

was appropriately based on the facts admitted at sentencing.

II.      Petitioner's claim does not present a cognizable question for review under 28
         U.S.C. § 2255.

         Even if Petitioner's claim were not procedurally barred, it does not merit habeas relief.

Title 28 U.S.C. § 2255 provides that a federal prisoner's sentence may be reviewed for the

following four reasons: (1) the sentence was imposed in violation of the Constitution of the

United States, (2) the court was without jurisdiction to impose such a sentence, (3) the

sentence was in excess of the maximum authorized by law, or (4) the sentence is otherwise

subject to collateral attack. Only constitutional claims, jurisdictional claims, and claims of

error so fundamental as to have resulted in a complete miscarriage of justice are cognizable

on collateral attack. See United States v. Addonizio, 442 U.S. 178, 185 (1979); Hill v. United

States, 368 U.S. 424, 428 (1962); Richards v. United States, 837 F.2d 965, 966 (11th Cir.

1988).

         Petitioner disputes the accuracy of information in the PSR adopted by the Court at his

sentencing hearing. He has not raised a constitutional or jurisdictional claim. Further,

Petitioner does not allege that his current sentence is a fundamental miscarriage of justice.

He only claims that the Court would have imposed a lesser sentence in the face of the

information that he now presents. This argument is therefore not cognizable on habeas

review, and is also unconvincing because his counsel offered objection to the criminal history

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as provided in the PSR at the hearing. The Court imposed the sentence in light of that

objection. Additionally, Petitioner's assertion that his probation should not have impacted

his criminal history is erroneous. The U.S. Probation Officer responsible for Petitioner's PSR

explained in her response to his inquiry that no order for early termination was ever filed (CV

Dkt. 15, Att. A). She further clarified that this had no impact on the criminal history

contained in his PSR because part of his offense was committed during his term of probation

from March 2, 2004 - July 8, 2004. Id. Thus, Petitioner's claim does not merit habeas relief.

                                         Conclusion

       For the reasons set forth above, all of Petitioner's claims are without merit and will

therefore be denied.

       It is therefore ORDERED AND ADJUDGED that:

       1.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. §2255 (CV Dkt. 1) is DENIED.

       2.     The Clerk is to enter judgment for Respondent, United States of America,

terminate any pending motions, and close this case.

       3.     The Clerk is directed to terminate from pending status the motion to vacate

found at Dkt. 651, in the underlying criminal case, case number 8:05-cr-530-T-30EAJ.

       DONE and ORDERED in Tampa, Florida on July 14, 2008.




Copies furnished to:
Counsel/Parties of Record


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